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17

18
                                 UNITED STATES DISTRICT COURT
19
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
20

21 Z.T.S.,
                                                        Case No. 4:24-cv-01370
22                  Plaintiff,
             v.
23                                                      NOTICE OF VOLUNTARY
   UNITED STATES OF AMERICA; UNITED                     DISMISSAL
24 STATES OF AMERICA FEDERAL BUREAU OF
   PRISONS, a governmental entity; and SINCLAIR,
25
               Defendants.
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     NOTICE OF VOLUNTARY DISMISSAL
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 1                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

 2          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Z.T.S. (“Plaintiff”), by

 3 and through her attorneys, hereby gives notice of her voluntary dismissal of this case with prejudice.

 4

 5                                             Respectfully submitted,

 6 DATED: February 6, 2025                     ARNOLD & PORTER KAYE SCHOLER LLP

 7                                             By: /s/ Carson D. Anderson
 8                                                 Stephen Cha-Kim
                                                   Carson D. Anderson
 9                                                 Natalie Steiert
                                                   Brooke D’Amore Bradley
10                                                 Mark Raftrey
11

12 DATED: February 6, 2025                     RIGHTS BEHIND BARS
13
                                               By: /s/ Amaris Montes
14                                                 Amaris Montes

15

16
     DATED: February 6, 2025                   CALIFORNIA COLLABORATIVE FOR
17                                             IMMIGRANT JUSTICE

18                                             By: /s/ Susan Beaty
                                                   Susan Beaty
19

20                                             Attorneys for Plaintiff

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     NOTICE OF VOLUNTARY DISMISSAL
